Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CONSOLIDATED ACTION
                                Case No. 18-62758-CIV-DIMITROULEAS



   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   __________________________________________/

       JOINT NOTICE OF SETTLEMENT OF COMMON BENEFIT FEE MOTION &
          MOTION TO VACATE HOLDBACK ORDERS, STRIKE ONE FILING,
                    AND FOR RETENTION OF JURISDICTION

          The parties to the common benefit fee dispute, Movants Podhurst Orseck, P.A.
   (“Podhurst”) and Rennert Vogel Mandler & Rodriguez, P.A. (“RVMR”), and Respondents
   Grossman Roth Yaffa Cohen, P.A., The Haggard Law Firm, Colson Hicks Eidson, P.A., Cohen,
   Blostein & Ayala P.A., Leighton Law, P.A., Alan Goldfarb, P.A., Goldfarb Law, P.A., Brill &
   Rinaldi, The Law Firm, Law Offices of Craig Goldenfarb, Balkan, Patterson & Charbonnet, Kelley
   Uustal PLC, the Law Office of Alex Arreaza, and Tracy Considine, P.A., jointly state the
   following:
          1.      At mediation, the Movants and Respondents amicably resolved Podhurst’s Motion
   for An Award of Common Benefit Fees, see D.E. 418 (the “Fee Motion”), and RVMR’s joinder
   in same, see D.E. 420. They are in the process of finalizing the terms of a written confidential
   settlement agreement and mutual release. The parties have agreed that their agreement’s terms
   shall remain confidential.
          2.      In connection with the Fee Motion, on April 8, 2022, the Court entered an Order at
   ECF 526 that requires the Respondents to temporarily hold back certain attorney’s fees by the
   Respondents and subsequently extended such order (the “Holdback Orders”). Respondents request
   that the Court modify the Holdback Orders to permit the Respondents to comply with the parties’
   settlement agreement and disburse the remaining funds. Podhurst and Rennert do not oppose this
   request.
          3.      The parties jointly request that the Court strike the chart at ECF 624-1.
          4.      The parties jointly stipulate and agree that the Court shall retain jurisdiction to
   enforce the terms of the parties’ confidential settlement agreement and mutual release.
Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 2 of 6




         Respectfully submitted,
   PODHURST ORSECK P.A.                         s/ Alex Arteaga-Gomez, Esq.
   Counsel for Frederic and Jennifer            STUART Z. GROSSMAN, ESQ.
   Guttenberg, as Co-Personal Representatives   szg@grossmanroth.com
   of the Estate of Jaime Guttenberg            NEAL A. ROTH, ESQ.
   One S.E. 3rd Avenue, Suite 2300              nar@grossmanroth.com
   Miami, Florida 33131                         ALEX ARTEAGA-GOMEZ, ESQ.
   Telephone: (305) 358-2800                    aag@grossmanroth.com
                                                Grossman, Roth, Yaffa Cohen, P.A.
   By: /s/ Kristina M. Infante                  2525 Ponce de Leon Blvd., Suite 1150
   Kristina M. Infante                          Coral Gables, FL 33134
   FL Bar No: 112557
   Steven C. Marks                              Counsel for Plaintiffs ASHLEY MARIE BAEZ,
   FL Bar No. 516414                            ISABEL CHEQUER, DAMIAN LOUGHRAN
                                                and DENISE LOUGHRAN, as Co-Personal
   RENNERT VOGEL MANDLER &                      Representatives of the Estate of CARA MARIE
   RODRIGUEZ, P.A.                              LOUGHRAN, deceased, ANTHONY
   Counsel for Philip and April Schentrup,      MONTALTO and JENNIFER MONTALTO, as
   as Co-Personal Representatives of the        Co-Personal Representatives of the Estate of
   Estate of Carmen M. Schentrup                GINA ROSE MONTALTO, deceased, and
   Miami Tower                                  KONG FENG WANG a/k/a JACKY WANG
   100 S.E. Second Street, Suite 2900           and HUI YING ZHENG a/k/a LINDA WANG
   Miami, Florida 33131                         as Co-Personal Representative of the Estate of
   Telephone: (305) 577-4177                    PETER WANG, deceased
   Facsimile: (305) 533-8519
   E-mail: jtew@rvmrlaw.com                     s/Jay Cohen, Esq.
   rstein@rvmrlaw.com                           JAY COHEN, ESQ.
   dperez@rvmrlaw.com                           jcohen@jaycohenlaw.com
                                                Cohen, Blostein & Ayala, P.A.
   By: /s/ Robert M. Stein                      100 SE 3rd Avenue, Suite 1100
   Robert M. Stein, Esq.                        Fort Lauderdale, FL 33394
   Florida Bar No. 93936
   Thomas S. Ward                               Counsel for Plaintiffs J.H., A.P., ELIZABETH
   Florida Bar No. 28624                        STOUT, FELICIA BURGIN, GIULIA
   Jeffrey A. Tew, Esq.                         GARCIA, MADISON KING, NOAH PACE,
   Florida Bar No. 121291                       HAYDEN KORR, DOMINIC TIMPONE, and
                                                ALESSANDRA WEBER, TIA BELL
                                                WILLIAMS, as Natural Parent and on behalf
                                                of M.W.
Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 3 of 6




                                          s/Curtis B. Miner, Esq.
                                          CURTIS B. MINER, ESQ.
                                          curt@colson.com
                                          Colson Hicks Eidson, P.A.
                                          255 Alhambra Circle, Ste PH
                                          Coral Gables, FL 33134
                                          Counsel for Plaintiff: BENJAMIN WIKANDER

                                          s/David W. Brill, Esq.
                                          DAVID W. BRILL, ESQ.
                                          david@brillrinaldi.com
                                          JOSEPH J. RINALDI, JR.
                                          joe@brillrinaldi.com
                                          Brill & Rinaldi, The Law Firm
                                          17150 Royal Palm Blvd., Suite 2
                                          Weston, FL 33326-2333

                                          Counsel for Plaintiffs MADELEINE “MADDY”
                                          WILFORD, TOM HOYER and GENA HOYER,
                                          as Co-Personal Representatives of the Estate of
                                          LUKE       HOYER,       deceased,   ANDREW
                                          POLLACK as Co-Personal Representative of
                                          the Estate of MEADOW POLLACK, deceased,
                                          and RYAN PETTY and KELLY PETTY, as Co-
                                          Personal Representative of the Estate of
                                          ALAINA PETTY, deceased, and MAX
                                          SCHACHTER, as Personal Representative of
                                          the Estate of ALEXANDER SCHACHTER,
                                          deceased

                                          s/Tracy Considine, Esq.
                                          TRACY CONSIDINE, ESQ.
                                          tconsidine@tcjaxlaw.com
                                          TRACY CONSIDINE, P.A.
                                          1 Sleiman Parkway, Ste 210
                                          Jacksonville, FL 32216
                                          Counsel for Plaintiff SHARA KAPLAN as Co-
                                          Personal Representative of the Estate of
                                          MEADOW POLLACK, deceased
Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 4 of 6




                                          s/Todd J. Michaels, Esq.
                                          MICHAEL A. HAGGARD, ESQ.
                                          mah@haggardlawfirm.com
                                          TODD J. MICHAELS, ESQ.
                                          tjm@haggardlawfirm.com
                                          The Haggard Law Firm
                                          330 Alhambra Circle
                                          Coral Gables, FL 33134

                                          Counsel for Plaintiffs STACEY LIPPEL, LINDA
                                          BEIGEL as Personal Representative of the
                                          Estate of SCOTT BEIGEL, deceased,
                                          PATRICIA PADUAY OLIVER and MANUEL
                                          OLIVER as Co-Personal Representatives of the
                                          Estate of JOAQUIN OLIVER, deceased

                                          s/Robert Kelley, Esq.
                                          ROBERT W. KELLEY, ESQ.
                                          rwk@kulaw.com
                                          KIMBERLY WALD, ESQ.
                                          klw@kulaw.com
                                          Kelley Uustal
                                          500 N. Federal Highway, Suite 200
                                          Ft. Lauderdale, FL 33301

                                          Counsel for Plaintiffs KYLE LAMAN,
                                          SAMANTHA GRADY, SAMANTHA FUENTES,
                                          SAMANTHA MAYOR, ILAN ALHADEFF and
                                          LORI     ALHADEFF,      as    Co-Personal
                                          Representatives of the Estate of ALYSSA
                                          ALHADEFF, deceased

                                          s/Michael A. Goldfarb, Esq.
                                          MICHAEL A. GOLDFARB, ESQ.
                                          michael@goldfarblaw.com
                                          Goldfarb Law, P.A.
                                          75 Valencia Avenue, Suite 100
                                          Miami, FL 33134

                                          s/Alan. Goldfarb, Esq.
                                          ALAN GOLDFARB, ESQ.
                                          agoldfarb@goldfarbpa.com
                                          Alan Goldfarb, P.A.
                                          100 SE 2nd Street
                                          Bank of America Tower Suite 4500
                                          Miami, FL 33131
Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 5 of 6




                                          Counsel for Plaintiff ALEXANDER DWORET
                                          and MITCHELL DWORET and ANIKA
                                          DWORET, as Co-Personal Representatives of
                                          the ESTATE of NICHOLAS DWORET, deceased

                                          s/Michael A. Wasserman, Esq.
                                          MICHAEL A. WASSERMAN, ESQ.
                                          mwasserman@800goldlaw.com
                                          Law Offices of Craig Goldenfarb
                                          1800 S Australian Avenue, Suite 400
                                          West Palm Beach, FL 33409-6450

                                          Counsel for Plaintiffs VINCENT RAMSAY and
                                          ANNE RAMSAY as Co-Personal Representative of
                                          the Estate of HELENA RAMSEY, deceased

                                          s/John E. Leighton, Esq.
                                          JOHN E. LEIGHTON, ESQ.
                                          john@leightonlaw.com
                                          Leighton Law, P.A.
                                          1401 Brickell Avenue, Suite 900
                                          Miami, FL 33131

                                          Counsel for Plaintiffs WILLIAM OLSON
                                          and MARIAN KABACHENKO

                                          s/Adam Balkan, Esq.
                                          ADAM BALKAN, ESQ.
                                          adam@balkanpatterson.com
                                          Balkan, Patterson & Charbonnet
                                          1877 S Federal Hwy Ste 100
                                          Boca Raton, FL 33432-7466

                                          Counsel for Plaintiffs MELISSA FEIS, as
                                          Personal Representative of the Estate of
                                          AARON FEIS, deceased, and DEBRA HIXON,
                                          as Personal Representative of the Estate of
                                          CHRISTOPHER HIXON, deceased
Case 0:18-cv-62758-WPD Document 631 Entered on FLSD Docket 02/28/2023 Page 6 of 6




                                          s/Alex Arreaza, Esq.
                                          ALEX ARREAZA, ESQ.
                                          The Law Office of Alex Arreaza
                                          320 W Oakland Park Blvd
                                          Wilton Manors, FL 33311-1710

                                          Counsel for Plaintiff ANTHONY BORGES
